Case 1:20-cv-21108-UU Document 7 Entered on FLSD Docket 03/16/2020 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 20-cv-21108-UU

 LOGAN ALTERS, et al.,

        Plaintiffs,
 v.

 PEOPLE’S REPUBLIC OF CHINA, et al.,

        Defendants.
                                                   /

                                             ORDER

        THIS CAUSE is before the Court upon Plaintiffs’ Motion to Drop Party Pursuant to Rule

 21. D.E. 6.

        THE COURT has considered the motion and the pertinent portions of the record and is

 otherwise fully advised in the premises.

        On March 13, 2020, Plaintiffs filed the Complaint against Defendants. D.E. 1. On that

 same date, Plaintiffs moved for leave to drop Logan Alters as a party plaintiff, as he decided not

 to pursue this lawsuit. D.E. 6. Defendants have not yet been served, the Court has not yet set a

 deadline to amend the pleadings or drop parties, and the case will not be substantially delayed by

 this amendment. Thus, the Court grants Plaintiffs’ motion. Accordingly, it is hereby

        ORDERED AND ADJUDGED that Plaintiffs’ Motion to Drop Party Pursuant to Rule 21,

 D.E. 6, is GRANTED. The Clerk of Court shall terminate Logan Alters as a party plaintiff in this

 lawsuit.
Case 1:20-cv-21108-UU Document 7 Entered on FLSD Docket 03/16/2020 Page 2 of 2



        DONE AND ORDERED in Chambers at Miami, Florida, this 16th day of March, 2020.


                                                                         _ ____
                                                 UNITED STATES DISTRICT JUDGE
 cc:
 counsel of record via cm/ecf




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